                        IN THE UNITED STATES DISTRICT COURT                           Motion GRANTED for
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                           extension to 6/16/14.
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       No. 3:13-cr-00153
                                             )       JUDGE TRAUGER
DORIAN AYACHE                                )


     GOVERNMENT’S UNOPPOSED MOTION FOR ENLARGEMENT OF TIME

       The United States of America (“the Government”), by and through David Rivera, United

States Attorney for the Middle District of Tennessee, and the undersigned attorney, respectfully

requests an enlargement of time in which to respond to Defendant’s Dorian Ayache’s Motion to

Suppress, which was filed on May 19, 2014. Specifically, the Government requests an additional

two weeks to respond to this motion (until June 16, 2014). The Government makes this request

because the undersigned attorney expects to be out of the office for ten of the fourteen days he

has to respond to the motion under Local Rule 12.01. Michael Holley, counsel to Defendant

Dorian Ayache, has represented that he does not oppose this motion.

                                                     Respectfully submitted,

                                                     DAVID RIVERA
                                                     United States Attorney for the
                                                     Middle District of Tennessee


                                                     BY:         s/William F. Abely
                                                     William F. Abely
                                                     Assistant United States Attorney
                                                     110 Ninth Avenue South, Suite A-961
                                                     Nashville, Tennessee 37203
                                                     Telephone: 615-736-5151




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